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                                                           Attorneys for HASelect-Medical Receivables
                                                       7   Litigation Finance Fund International SP
                                                       8                            UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11   INFINITY CAPITAL MANAGEMENT, INC.                   Case No. 21-14486-abl
              1731 Village Center Circle, Suite 150




                                                                                                               Chapter 7
                                                      12                         Debtor.
                   Las Vegas, Nevada 89134
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                                                      13
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      14   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      15
                                                                                 Plaintiff,                    Adversary Case No. 21-01167-abl
                                                      16
                                                           v.
                                                      17
                                                           TECUMSEH–INFINITY MEDICAL
                                                      18   RECEIVABLES FUND, LP,

                                                      19                        Defendant.

                                                      20   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,                               Hearing Date: May 26, 2022
                                                      21                                                       Hearing Time: 9:30 a.m.
                                                                               Counter-Claimant,
                                                      22   v.
                                                      23   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      24   INTERNATIONAL SP; ROBERT E. ATKINSON,
                                                           CHAPTER 7 TRUSTEE
                                                      25
                                                                                Counter-Defendants.
                                                      26

                                                      27

                                                      28

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                                                       1   ROBERT E. ATKINSON, CHAPTER 7
                                                           TRUSTEE,
                                                       2                   Counter-Claimant
                                                           v.
                                                       3
                                                           TECUMSEH–INFINITY MEDICAL
                                                       4   RECEIVABLES FUND, LP,
                                                       5                              Counter-Defendant
                                                       6
                                                                  HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND
                                                       7
                                                                INTERNATIONAL SP’S OPPOSITION TO TECUMSEH-INFINITY MEDICAL
                                                       8       RECEIVABLE FUND, LP’S MOTION TO DISMISS ALL CLAIMS FOR LACK OF
                                                                               SUBJECT MATTER JURISDICTION
                                                       9
                                                                    HASelect-Medical Receivables Litigation Finance Fund International SP (“HASelect”), by
                                                      10
                                                           and through its undersigned counsel, hereby files its Opposition (the “Opposition”) to Tecumseh-
                                                      11
              1731 Village Center Circle, Suite 150




                                                           Infinity Medical Receivable Fund, LP’s (“Tecumseh”) Motion to Dismiss All Claims for Lack of
                                                      12
                   Las Vegas, Nevada 89134




                                                           Subject Matter Jurisdiction (the “Motion”) [AECF No. 59].1 This Opposition is made and based
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                                                      13
                                                           on the points and authorities provided herein, the pleadings and papers on file in the Bankruptcy
                                                      14
                                                           Case as well as the Adversary Proceeding, judicial notice of which is hereby respectfully
                                                      15
                                                           requested,2 any exhibits attached hereto, and any oral argument that the Court will hear at the time
                                                      16
                                                           of the Motion.
                                                      17
                                                                    DATED this 12th day of May 2022.
                                                      18
                                                                                                                          SHEA LARSEN
                                                      19
                                                                                                                          /s/ Bart K. Larsen, Esq.
                                                      20                                                                  Bart K. Larsen, Esq.
                                                                                                                          Kyle M. Wyant, Esq.
                                                      21                                                                  1731 Village Center Circle, Suite 150
                                                                                                                          Las Vegas, Nevada 89134
                                                      22
                                                                                                                          Attorneys for HASelect-Medical Receivables
                                                      23                                                                  Litigation Finance Fund International SP

                                                      24
                                                           1
                                                            Throughout this Opposition, all references to AECF No. ___ are citations to electronic filings in Adversary Case No.
                                                      25   21-01167-abl while references to ECF No. ___ are citations to electronic filings in Bankruptcy Case No. 21-14486-abl.
                                                           2
                                                             This Court should take judicial notice of all materials appearing on the docket in the above-captioned Chapter 7
                                                      26   Bankruptcy Case and related adversary proceeding. See FRE 201(b); see also U.S. v. Wilson, 631 F.2d 118, 119 (9th
                                                           Cir. 1980); Bank of Am., N.A. v. CD-04, Inc. (In re Owner Mgmt. Serv., LLC Trustee Corps.), 530 B.R. 711, 717 (Bankr.
                                                      27   C.D. Cal. 2015) (“The Court may consider the records in this case, the underlying bankruptcy case, and public records.”)
                                                           (cited by In re Fikrou, No. 19-13180-mkn, 2019 Bankr. LEXIS 2613, n. 2 (D. Nev. Bankr. Aug. 8, 2019)).
                                                      28

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                                                       1                         MEMORANDUM OF POINTS AND AUTHORITIES

                                                       2   I.        INTRODUCTION

                                                       3             Tecumseh’s Motion is not well taken. In its recent oral ruling granting Chapter 7 Trustee

                                                       4   Robert Atkinson’s (the “Trustee”) Motion to Substitute Party and Recaption Case3 (the “Motion to

                                                       5   Substitute”), this Court unequivocally rejected the arguments on which Tecumseh’s Motion is based,

                                                       6   expressly finding both (i) this Court holds subject matter jurisdiction over this adversary proceeding

                                                       7   and (ii) HASelect has standing to prosecute the avoidance claims it purchased from the bankruptcy

                                                       8   estate. Given these findings, Tecumseh’s Motion should be denied without further consideration.

                                                       9             Contrary to such findings, Tecumseh incorrectly argues the Court lacks subject matter

                                                      10   jurisdiction over the claims asserted in the Adversary Complaint. There should be no question that

                                                      11   HASelect’s claims against Tecumseh are properly before this Court. The Court clearly has “arising
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                                                      12   under” subject matter jurisdiction over at least the avoidance claims HASelect purchased from the
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                                                      13   Trustee. Moreover, the Court holds “related to” subject matter jurisdiction over HASelect’s

                                                      14   remaining claims as such claims will “conceivably alter the debtor’s rights, liabilities, options, or

                                                      15   freedom of action (either positively or negatively) in such a way as to impact on the administration

                                                      16   of the bankruptcy estate.” In re Fietz, 852 F.2d 455, 457 (9th Cir. 1998).

                                                      17             Similarly, Tecumseh is plainly wrong in arguing that HASelect lacks standing to pursue the

                                                      18   avoidance claims it purchased from the Trustee. Having paid $100,000 to purchase these avoidance

                                                      19   claims pursuant to this Court’s order approving the sale of the same4, HASelect has satisfied all

                                                      20   standing requirements and owes no obligation to pursue such claims for the benefit of all creditors.

                                                      21   Like this Court, other Ninth Circuit courts have repeatedly rejected Tecumseh’s standing argument.

                                                      22   See, e.g., Brookview Apts., L.L.C. v. Hower (In re Weigh), 576 B.R. 189, 206-07 (C.D. Cal. 2017)

                                                      23   (“for the purposes of a creditor-assignee’s standing to pursue a bankruptcy avoidance action, it is

                                                      24   sufficient that the estate benefit in some way from the assignment, not that any recovery on that

                                                      25   action inure to the direct benefit of other creditors.”). Here, HASelect’s purchase of the avoidance

                                                      26

                                                      27   3
                                                               AECF No. 45.
                                                           4
                                                               ECF No. 184.
                                                      28

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                                                       1   claims for $100,000 undoubtedly provided a substantial benefit to the bankruptcy estate. There is

                                                       2   no requirement that the bankruptcy estate benefit a second time from HASelect’s prosecution of the

                                                       3   avoidance claims in order for HASelect to enjoy standing to prosecute the avoidance claims it

                                                       4   purchased.

                                                       5              Finally, further proof of the frivolous nature of Tecumseh’s Motion lies in the fact that

                                                       6   Tecumseh has asserted substantially similar counterclaims against HASelect and the Trustee relating

                                                       7   to the disputed accounts at issue in this adversary proceeding. Indeed, throughout its Counterclaim5

                                                       8   Tecumseh asserts that “this Court is vested with the power to declare the rights and liabilities of the

                                                       9   parties and to grant such other further relief as may be necessary.”6 Through its own numerous

                                                      10   filings in both this adversary proceeding and the chapter 7 case, including its proof of claim,

                                                      11   Tecumseh has brought the claims at issue squarely within the subject matter jurisdiction of this
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                                                      12   Court. Tecumseh’s obtuse arguments to the contrary ignore its own role in this adversary proceeding
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                                                      13   and must be rejected. For these reasons and those expressed more fully below, Tecumseh’s Motion

                                                      14   must be denied.

                                                      15   II.        RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

                                                      16         A.        HASelect’s Relationship with Infinity and the Loan Transaction
                                                      17              1.      Beginning in February 2019, HASelect made a series of loans to Debtor Infinity

                                                      18   Capital Management, Inc. (“Infinity”) that were documented through various written loan

                                                      19   agreements and promissory notes through which Infinity pledged substantially all of its personal

                                                      20   property, including accounts receivable, to HASelect as collateral for such loans.7

                                                      21              2.      HASelect perfected its security interest in all of Infinity’s personal property through

                                                      22   the filing of a UCC-1 with the Nevada Secretary of State on February 19, 2019.8

                                                      23              3.      On or about December 18, 2019, HASelect, which was then doing business under the

                                                      24   name HASelect-FTM Medical Receivables Litigation Finance Fund SP, and Infinity entered into a

                                                      25
                                                           5
                                                               AECF No. 12.
                                                      26   6
                                                               AECF No. 12 at ¶¶ 26, 41, and 52.
                                                      27   7
                                                               AECF No. 54.
                                                           8
                                                               Id.; see also AECF No. 57-2.
                                                      28

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                                                       1   Second Amended & Restated Loan and Security Agreement and Promissory Note (together with all

                                                       2   prior and related loan documents, the “MLA”), which amended and superseded all prior written loan

                                                       3   agreements and promissory notes entered into between HASelect and Infinity.9

                                                       4              4.        Accordingly, HASelect holds a perfected security interest in all of Infinity’s personal

                                                       5   property (as defined in § 4.1 of the MLA, the “Collateral”). Specifically, Section 4.1 of the MLA

                                                       6   describes the Collateral as follows:

                                                       7              To secure the payment and performance when due of all of the Borrower’s
                                                                      obligations hereunder and under the Note, Borrower hereby grants to Lender a
                                                       8              security interest in the Receivables and the Alternative Receivables, and all of its
                                                                      other personal property, including without limitation, all of Borrower’s interest in the
                                                       9              following, whether now owned or hereafter acquired, and wherever located, but
                                                                      excluding the Permitted Liens: All Goods, Inventory, Equipment, Fixtures,
                                                      10              Accounts, General Intangibles, Instruments, Chattel Paper, Documents, Commercial
                                                                      Tort Claims, Investment Property, Letter of Credit Rights, Deposit Accounts, and all
                                                      11              money, and all other property now or at any time in the future in Lender’s possession
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                                                                      (including claims and credit balances), and all proceeds (including proceeds of any
                                                      12              insurance policies, proceeds of proceeds and claims against third parties), all products
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                                                                      and all books and records related to any of the foregoing (all of the foregoing,
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                                                      13              together with all other property in which Lender may now or in the future be granted
                                                                      a lien or security interest, is referred to herein, collectively, as the “Collateral”).10
                                                      14
                                                                      5.        Pursuant to the MLA, Infinity agreed to use the loan proceeds it received from
                                                      15
                                                           HASelect to purchase accounts receivable from medical providers.11
                                                      16
                                                                      6.        Such accounts receivable generally arose from medical treatment or prescription
                                                      17
                                                           medication provided to individuals who were injured in accidents and had asserted personal injury
                                                      18
                                                           claims against third parties. These accounts receivable are secured by liens against these personal
                                                      19
                                                           injury claims and are typically paid at the time the personal injury claims are settled.12
                                                      20
                                                                      7.        Infinity purchased these accounts receivable pursuant to contracts it entered into
                                                      21
                                                           directly with various medical providers.13 In addition to the contracts Infinity entered into with the
                                                      22
                                                           sellers of these accounts receivable, Infinity also received direct assignments of the individual
                                                      23

                                                      24
                                                           9
                                                               AECF No. 57-1.
                                                      25
                                                           10
                                                                Id.
                                                      26   11
                                                                Id.
                                                      27   12
                                                                AECF No. 54.
                                                           13
                                                                See Infinity’s Amended Schedule G filed in the chapter 7 case at ECF No. 91.
                                                      28

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                                                       1   personal injury claimants’ rights to recovery.14

                                                       2              8.       To ensure that HASelect received a perfected, first-priority security interest in all

                                                       3   accounts receivable purchased by Infinity (as well as all other Collateral), HASelect required that

                                                       4   Infinity use part of loan proceeds advanced by HASelect to repay and retire a prior secured debt owed

                                                       5   to Law Finance Group, LLC, which had similarly advanced funds to Infinity for the purchase of

                                                       6   accounts receivable.

                                                       7              9.       From February 2019 through April 2020, HASelect advanced loan proceeds totaling

                                                       8   approximately $13.7 million to Infinity, which was obligated under the MLA to use such proceeds to

                                                       9   purchase accounts receivable.15

                                                      10         B.         Infinity’s Sale of HASelect’s Collateral to Tecumseh

                                                      11              10.      On or about June 18, 2020, Infinity and Tecumseh entered into a Sub-Advisory
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                                                      12   Agreement16 (the “Sub-Advisory Agreement”) under which Infinity agreed, among other things, to
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                                                      13   “assist [Tecumseh] in acquiring an interest in medical receivables in connection with personal injury

                                                      14   cases” in exchange for which Tecumseh agreed to pay Infinity a 20% fee at the time of acquisition

                                                      15   as well as 15% of the net profit earned on each such account receivable at the time of collection.

                                                      16              11.      Upon signing the Sub-Advisory Agreement, Infinity began preparing to transfer

                                                      17   accounts receivable in which HASelect held a perfected, first-priority security interest to Tecumseh

                                                      18   by, among other things, removing the electronic stamps that identified such accounts receivable as

                                                      19   HASelect’s Collateral.17

                                                      20              12.      Infinity then began selling accounts receivable in which HASelect held a perfected,

                                                      21   first-priority security interest to Tecumseh without HASelect’s knowledge or consent and in

                                                      22   violation of Infinity’s contractual obligations under the MLA.

                                                      23              13.      Tecumseh has admitted that accounts receivable of at least $6,792,518.86 were

                                                      24

                                                      25
                                                           14
                                                                AECF No. 57-4.
                                                      26   15
                                                                AECF No. 54.
                                                      27   16
                                                                AECF No. 57-5.
                                                           17
                                                                AECF No. 57-3.
                                                      28

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                                                       1   purchased from Infinity.18

                                                       2               14.      Tecumseh did not file any UCC-1 financing statement to perfect any interest it claims

                                                       3   in any of the accounts it purchased through or from Infinity.

                                                       4          C.         Infinity Files for Bankruptcy, and HASelect and the Trustee Assert Claims
                                                                             against Tecumseh.
                                                       5
                                                                       15.      On September 14, 2021, Infinity filed its Chapter 7 Voluntary Petition commencing
                                                       6
                                                           the above-captioned Bankruptcy Case No. 21-14486-abl.
                                                       7
                                                                       16.      On September 22, 2021, HASelect and the Trustee moved for an order authorizing
                                                       8
                                                           the Trustee to abandon the Collateral and HASelect moved for relief from the automatic stay to
                                                       9
                                                           immediately take possession of the Collateral.19
                                                      10
                                                                       17.      On October 15, 2021, the Court entered an Order authorizing the Trustee’s
                                                      11
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                                                           abandonment of the Collateral to HASelect, expressly excluding abandonment of any of the
                                                      12
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                                                           Disputed Accounts (as defined in the motion papers) and proceeds thereof to HASelect (the
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                                                      13
                                                           “Abandonment Order”).20
                                                      14
                                                                       18.      On October 19, 2021, HASelect commenced the above-captioned Adversary Case
                                                      15
                                                           No. 21-01167-abl against Tecumseh.
                                                      16
                                                                       19.      On October 21, 2021, the Court entered an order granting stay relief and permitting
                                                      17
                                                           HASelect to immediately take possession of the Collateral and enforce its rights therein, again
                                                      18
                                                           expressly excluding the Disputed Accounts and proceeds thereof (the “Stay Relief Order”).21
                                                      19
                                                                       20.      On January 7, 2022, Tecumseh filed its Proof of Claim in the Bankruptcy Case.22
                                                      20
                                                                       21.      On February 8, 2022, the Court entered an Order approving the Trustee’s sale to
                                                      21
                                                           HASelect of whatever interest the estate had in the Disputed Accounts, including proceeds, claims
                                                      22
                                                           and causes of action relating to the same (including § 544 claims) and the books and records relating
                                                      23

                                                      24
                                                           18
                                                                ECF No. 54.
                                                      25
                                                           19
                                                                ECF Nos. 12 and 17.
                                                      26   20
                                                                ECF No. 97.
                                                      27   21
                                                                ECF No. 106.
                                                           22
                                                                Claim No. 11-1.
                                                      28

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                                                       1   to the foregoing (the “Sale Order”).23

                                                       2             22.       On February 22, 2022, the Trustee filed notice that the sale of these assets was

                                                       3   consummated to HASelect, and that the $100,000 payment provided by HASelect in return for these

                                                       4   rights was paid to the bankruptcy estate.24

                                                       5             23.       On February 28, 2022, the Trustee filed his Motion to Substitute, which was opposed

                                                       6   by Tecumseh on largely the same grounds as presently raised by Tecumseh in its Motion to

                                                       7   Dismiss.25

                                                       8             24.       On April 28, 2022, the Court entered its oral ruling granting the Trustee’s Motion to

                                                       9   Substitute, finding (i) this Court holds both “arising under” and “related to” subject matter

                                                      10   jurisdiction over the claims at issue in this adversary proceeding and (ii) HASelect’s payment of

                                                      11   $100,000 to purchase the avoidance claims conferred a substantial benefit on the bankruptcy estate
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                                                      12   and, as such, HASelect has standing to prosecute those avoidance claims for its own benefit.
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                                                      13   III.      LEGAL ARGUMENT

                                                      14             A.        Legal Standard

                                                      15             Subject matter jurisdiction is measured at the time a complaint is filed. See In re Weigh, 576

                                                      16   B.R. at 199 (collecting cases). The plaintiff invoking the jurisdiction of the court bears the burden

                                                      17   of establishing the court’s subject matter jurisdiction. Id. Bankruptcy courts have subject matter

                                                      18   “jurisdiction over all civil proceedings (1) ‘arising under title 11,’ i.e., any proceedings to enforce

                                                      19   rights created by the Bankruptcy Code, (2) ‘arising in’ a bankruptcy case, i.e., other proceedings that

                                                      20   would not exist outside a bankruptcy case, such as case administration, or (3) ‘related to’ a

                                                      21   bankruptcy case, i.e., any proceedings the outcome of which could conceivably have any effect on

                                                      22   the bankruptcy estate.” Id. (citing to, among others, In re Harris, 590 F.3d 730, 737 (9th Cir. 2009)

                                                      23   and In re Fietz, 852 F.2d at 547) (emphasis supplied); see also 28 U.S.C. § 1334(b).

                                                      24             The use of the word “or” means that a party establishing subject matter jurisdiction need only

                                                      25   show that jurisdiction exists under one of these bases. See, e.g., In re Weigh, 576 B.R. at 201 (“It

                                                      26   23
                                                                ECF No. 184.
                                                      27   24
                                                                ECF No. 190.
                                                           25
                                                                See AECF No. 61.
                                                      28

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                                                       1   was not necessary for the Court to have more than one basis to assert jurisdiction over the claims.”);

                                                       2   Evans v. Tippie, (In re C&M Russel, LLC), 2017 Bankr. LEXIS 265 (C.D. Cal. Bankr. Jan. 31, 2017)

                                                       3   (“The court does not reach Defendants’ arguments based on ‘arising in’ or arising under’ jurisdiction

                                                       4   because its determination of ‘related to’ jurisdiction is sufficient to establish subject matter

                                                       5   jurisdiction and thus, it is unnecessary to address those arguments.”). Here, the Court has subject

                                                       6   matter jurisdiction over the claims asserted by HASelect against Tecumseh under both “arising

                                                       7   under” and “related to” jurisdiction, and thus, the Motion should be denied.

                                                       8              B.       HASelect has Standing to Pursue the Avoidance Claims It Purchased.
                                                       9              In its Motion, Tecumseh improperly asserts that HASelect lacks standing to pursue the
                                                      10   avoidance claims it purchased from Debtor’s bankruptcy estate. Tecumseh wrongly argues, based
                                                      11   on outdated and since clarified case law, that a creditor who purchases a Trustee’s rights to bring
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                                                      12   544 claims only has standing to assert such claims if it does so for the benefit of all creditors, relying
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                                                      13   on Briggs v. Kent (In re Prof’l Invs. Properties of Am.), 955 F.2d 623 (9th Cir. 1992) and Duckor
                                                      14   Spralding & Metzger v. Baum Trust (In re P.R.T.C., Inc.), 177 F.3d 774 (9th Cir. 1999).26 However,
                                                      15   the Ninth Circuit B.A.P. and other courts in the Ninth Circuit have more recently held that neither
                                                      16   Briggs nor P.R.T.C. stand for such a proposition, clarifying that a creditor that purchases avoidance
                                                      17   claims for valuable consideration can prosecute such claims for its own benefit.
                                                      18              “[T]he Ninth Circuit Court of Appeals has held that a trustee or debtor in possession—outside
                                                      19   of a plan of reorganization but with judicial approval—may sell or transfer its avoidance powers to
                                                      20   a creditor and effectively confer standing on the creditor to pursue those claims.” See In re Weigh,
                                                      21   576 B.R. at 206-07 (citing to Briggs, P.R.T.C., and Simantob v. Claims Prosecutor, L.L.C. (In re
                                                      22   Lahijani), 325 B.R. 282, 288 (9th Cir. B.A.P. 2005)).
                                                      23              The Ninth Circuit B.A.P. has specifically rejected the very same argument that Tecumseh
                                                      24   makes here. See In re Lahijani, 325 B.R. at 288. In rejecting this argument, the In re Lahijani court
                                                      25   bluntly confronted Briggs and P.R.T.C. and stated:
                                                      26              The difficulty with this argument is that, under the law of the circuit, trustee
                                                                      avoiding powers may be transferred for a sum certain. P.R.T.C., 177 F.3d at 781-
                                                      27
                                                           26
                                                                See Motion, 4:5-19.
                                                      28

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                                                                   82; Briggs, 955 F.2d at 625-26. The benefit to the estate in such circumstances is
                                                       1           the sale price, which might or might not include a portion of future recoveries for
                                                                   the estate. Thus, P.R.T.C. and Briggs do not mandate, as appellants contend that
                                                       2           the avoidance powers can only be sold to a creditor who agrees to pursue those
                                                                   avoidance powers for the benefit of all creditors.
                                                       3
                                                           Id. (emphasis supplied). Less than four months ago, the Ninth Circuit B.A.P. again rejected the
                                                       4
                                                           argument on which Tecumseh’s Motion relies by reaffirming that a creditor that has purchased
                                                       5
                                                           avoidance claims enjoys standing to prosecute such claims for its own benefit. See Binh Huu Do v.
                                                       6
                                                           Eiler (In re Portland Injury Inst., LLC), BAP No. OR-21-1138-GTB, 2022 Bankr. LEXIS 253, *11-
                                                       7
                                                           12 (9th Cir. BAP Jan. 27, 2022) (unpublished). :
                                                       8
                                                                   Finally, Dr. Do contends that under the holding of P.R.T.C., the avoidance actions
                                                       9           could be sold only to a third party who would pursue interests common to all
                                                                   creditors and would exercise the avoidance powers for the benefit of all creditors.
                                                      10           We specifically rejected this argument in Lahijani:
                                                      11                   We reject appellants’ argument that the avoiding power causes of
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                                                                           action should not have been sold to one who would not exercise the
                                                      12                   powers for the benefit of all creditors.
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                                                      13   Id. The Ninth Circuit B.A.P. is not alone in holding as such. See, e.g., In re Weigh, 576 B.R. at 206-

                                                      14   07 (“Thus, for the purposes of a creditor-assignee’s standing to pursue a bankruptcy avoidance

                                                      15   action, it is sufficient that the estate benefit in some way from the assignment, not that any recovery

                                                      16   on that action inure to the direct benefit of other creditors.”).

                                                      17           Tecumseh’s Motion reluctantly acknowledges the above cases and the Ninth Circuit’s clear

                                                      18   retreat from any implication that a creditor must, after purchasing avoidance claims, pursue such

                                                      19   claims for the benefit of all creditors. Yet, Tecumseh stubbornly argues these cases do not

                                                      20   “dispense[] with the requirement that a creditor pursuing avoidance actions do so for the benefit of

                                                      21   the estate.” Tecumseh intentionally ignores the fact that HASelect’s purchase of the avoidance

                                                      22   claims for $100,000 provided a substantial benefit to the bankruptcy estate, which clearly resolves

                                                      23   any question as to HASelect’s standing to prosecute the avoidance claims. See In re Lahijani, 325

                                                      24   B.R. at 288 (“the benefit to the estate in such circumstances is the sale price, which might or might

                                                      25   not include a portion of future recoveries for the estate.”).

                                                      26           The bankruptcy estate further benefits from HASelect pursuing the avoidance claims by

                                                      27   avoiding the risk and expense of prosecuting such claims itself. Moreover, if HASelect is successful

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                                                       1   in prosecuting the avoidance claims, Tecumseh would become an unsecured creditor rather than a

                                                       2   secured creditor, which would further benefit the bankruptcy estate. See, e.g., In re Gaskins, 98 B.R.

                                                       3   328, 330-31 (E.D. Tenn. Bankr. 1989) (“Benefit to the bankruptcy estate is easy to see when the suit

                                                       4   may extinguish a claim” and further acknowledging benefit to the estate because when a claim would

                                                       5   be changed from secured to unsecured). Accordingly, the Court should reject Tecumseh’s baseless

                                                       6   arguments and confirm that HASelect enjoys standing to pursue the avoidance claims it purchased

                                                       7   for its own benefit.

                                                       8           D.       This Court Has Subject Matter Jurisdiction Over HASelect’s Claims Against
                                                                            Tecumseh.
                                                       9
                                                                   By way of its First Amended Complaint against Tecumseh, HASelect has asserted the
                                                      10
                                                           following claims: (1) declaratory relief against Tecumseh seeking a declaration that HASelect has
                                                      11
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                                                           priority over the accounts receivable in dispute; (2) injunctive relief seeking to preclude Tecumseh
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                                                           from collecting or otherwise disposing of the disputed receivables; (3) conversion by Tecumseh of
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                                                           the accounts in dispute; and (4) that Tecumseh was unjustly enriched by its collection and retention
                                                      14
                                                           of proceeds relating to the disputed accounts. The Trustee similarly asserted a counterclaim against
                                                      15
                                                           Tecumseh seeking to avoid any alleged interest of Tecumseh in the disputed accounts, pursuant to
                                                      16
                                                           Section 544(a)(1). Pursuant to the Sale Order approving the purchase by HASelect of all avoidance
                                                      17
                                                           claims relating to the disputed accounts at issue, the Trustee successfully moved to substitute
                                                      18
                                                           HASelect in its place to prosecute his counterclaim against Tecumseh. All of these claims are
                                                      19
                                                           properly before this Court under either “arising under” or “related to” jurisdiction.
                                                      20
                                                                            1.       Tecumseh Has Consented to the Court’s Subject Matter Jurisdiction over the
                                                      21                             Claims at Issue in this Adversary Proceeding.
                                                      22
                                                                   In addition to the following arguments, all of which confirm the Court’s subject matter
                                                      23
                                                           jurisdiction over this adversary proceeding, the Court enjoys subject matter jurisdiction over the
                                                      24
                                                           claims at issue in this adversary proceeding based on Tecumseh’s own actions in bringing these
                                                      25
                                                           claims before the Court through the filing of its proof of claim in Infinity’s chapter 7 case.27 Courts
                                                      26
                                                           27
                                                             Tecumseh has also stated numerous times in its Counterclaim that “this Court is vested with the power to declare
                                                      27   the rights and liabilities of the parties and to grant such other future relief as may be necessary,” which undercuts
                                                           Tecumseh’s arguments in the Motion that this Court lacks jurisdiction over such claims.
                                                      28

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                                                       1   routinely hold that the filing of a proof of claim conveys subject matter jurisdiction over the claim

                                                       2   and related documents. See, e.g., In re Timberline Four Seasons Utils., Inc., No. 21-bk-00125, 2021

                                                       3   Bankr. LEXIS 2939, *12 n.9 (N.D. W.Va. Oct. 25, 2021) (“The filing of a proof of claim confers

                                                       4   upon this court personal jurisdiction over the claimant in addition to conveying subject matter

                                                       5   jurisdiction over the claim.”) (citing Langenkamp v. Culp, 498 U.S. 42, 44-45 (1990)); In re Ass’n

                                                       6   of Volleyball Prof’ls, 256 B.R. 313 (C.D. Cal. 2000) (“Thus a proof of claim confers on the

                                                       7   bankruptcy court…subject matter jurisdiction over the claim.”) (citing Tucker Plastics, Inc. v.

                                                       8   Pay’N’Pak Stores, Inc. (In re PNP Holdings Corp.), 99 F.3d 910 (9th Cir. 1996)); Durkin v. Benedor

                                                       9   Corp. (In re G.I. Indus.), 204 F.3d 1276, 1279-80 (9th Cir. 2000) (finding that by filing a proof of

                                                      10   claim, the claim and underlying agreement supporting the claim were subject to the bankruptcy

                                                      11   court’s jurisdiction).
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                                                      12              On January 7, 2022, Tecumseh filed its proof of claim in the bankruptcy case and attached
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                                                      13   the Sub-Advisor Agreement under which it claims to own the disputed accounts at issue in this

                                                      14   adversary proceeding.28 Seemingly aware that filing a proof of claim confers subject matter

                                                      15   jurisdiction to the bankruptcy court, Tecumseh included a futile “Reservation of Rights” in its proof

                                                      16   of claim, expressly stating that Tecumseh does not submit to the jurisdiction of the bankruptcy court

                                                      17   and seeks to preserve jurisdictional defenses.              However, anti-waiver provisions relating to

                                                      18   jurisdiction in proofs of claim are ineffective. See In re China Fishery Grp. Ltd (Cayman), No. 16-

                                                      19   11895, 2017 Bankr. LEXIS 2017, *16-20 (S.D.N.Y. Bankr. July 19, 2017). In In re China Fishery,

                                                      20   a creditor filing a proof of claim included similar language in its claim stating the “filing of this

                                                      21   Proof of Claim is not…a consent by the Claimant to the jurisdiction of the Bankruptcy Court with

                                                      22   respect to the subject matter of the Claim….” Id. At *16-17. Reviewing such language, the court

                                                      23   held this attempted “anti-waiver” provision was ineffective and that the filing of the proof of claim

                                                      24   undoubtedly conferred jurisdiction as to the claim and the underlying documents. Id. At *17

                                                      25   (collecting cases). Accordingly, by filing its proof of claim, Tecumseh plainly subjected its claims

                                                      26   to this Court’s jurisdiction notwithstanding any “anti-waiver” language included in its proof of

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                                                           28
                                                                See Claim No. 11-1 in the Bankruptcy Case.
                                                      28

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                                                       1   claim.

                                                       2            Based on Tecumseh filing its proof of claim as well as the Sub-Advisor Agreement, the Court

                                                       3   has subject matter jurisdiction relating to both of these documents. The dispute between Tecumseh

                                                       4   and HASelect centers on HASelect’s rights in the disputed accounts under its perfected security

                                                       5   interest in the same as compared to Tecumseh’s claim to ownership of the disputed accounts it claims

                                                       6   to have purchased under the Sub-Advisory Agreement. Thus, the priority dispute at issue in this

                                                       7   adversary proceeding directly relates to the Sub-Advisory Agreement, the corresponding

                                                       8   relationship between Tecumseh and Debtor, and HASelect’s perfected security interest in the

                                                       9   disputed accounts at issue. Even if the Court’s “arising under,” “related to,” and supplemental

                                                      10   jurisdiction over the claims at issue in this adversary proceeding are ignored, Tecumseh’s filing of

                                                      11   its proof of claim still subjects these claims to the Court’s jurisdiction. Consequently, the Motion
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                                                      12   must be denied.
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                                                                           2.      The Section 544 Claim Falls within the Court’s “Arising under” Jurisdiction.
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                                                      13

                                                      14            The Court has granted the Trustee’s Motion to Substitute, resulting in HASelect stepping
                                                      15   into the Trustee’s shoes to prosecute the Trustee’s Section 544 claim against Tecumseh. The Section
                                                      16   544 claim is properly before this Court as it falls within this Court’s “arising under” jurisdiction.
                                                      17            A proceeding “arises under” title 11 if it involves a “cause of action created or determined
                                                      18   by a statutory provision of title 11.” In re Harris Pine Mills, 44 F.3d 1431, 1435 (9th Cir. 1995).
                                                      19   The Section 544 claim is a creature of statute, arising out of 11 U.S.C. § 544. Put differently, “arising
                                                      20   under” jurisdiction exists where a substantive right is created by title 11. See Wilshire Courtyard v.
                                                      21   Cal Franchise Tax Bd. (In re Courtyard), 729 F.3d 1279, 1284-85 (9th Cir. 2013). Courts have
                                                      22   expressly found that Section 544 claims fall within a bankruptcy court’s “arising under” subject
                                                      23   matter jurisdiction. See, e.g., Customized Distrib., LLC v. Coastal Bank & Trust (In re Lee’s Famous
                                                      24   Recipes, Inc.), No. 11-5482, 2011 Bankr. LEXIS 5250, (N.D. Ga. Dec. 12, 2011) (expressly stating
                                                      25   that avoidance action claims—i.e. Section 544(b)—are types of substantive rights created by title 11
                                                      26   and thus confer arising under jurisdiction); Carlton v. Baww, Inc., 751 F.2d 781 (5th Cir. 1985)
                                                      27   (discussing the legislative history of bankruptcy court subject matter jurisdiction statute Section
                                                      28

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                                                       1   1334(b) and stating that the use of the avoidance power under Section 544 “would be a proceeding

                                                       2   arising under title 11.”). This Court clearly has subject matter jurisdiction over the Section 544

                                                       3   claim.

                                                       4                       3.    HASelect’s Remaining Claims Fall within the Court’s “Related to”
                                                                                     Jurisdiction.
                                                       5
                                                                      HASelect’s remaining claims for declaratory relief, equitable injunctive relief, conversion,
                                                       6
                                                           and unjust enrichment all are based on the fact that HASelect holds a perfected security interest in
                                                       7
                                                           all of the disputed accounts at issue. Tecumseh asserts that there is no “related to” jurisdiction
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                                                           because the disputed accounts at issue were abandoned and sold to HASelect; thus, they are no longer
                                                       9
                                                           property of the estate.29 However, Tecumseh’s Motion fails to acknowledge that subject matter
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                                                           jurisdiction is measured at the time a complaint is filed. See In re Fietz, 852 at 457, n.2.
                                                      11
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                                                                      Here, HASelect filed its Adversary Complaint against Tecumseh on October 19, 2021.
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                                                           While any interest held by the bankruptcy estate in the disputed accounts was sold to HASelect, the
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                                                      13
                                                           Sale Order was not entered until February 8, 2022. Consequently, the bankruptcy estate’s sale of
                                                      14
                                                           the disputed accounts cannot divest the Court of subject matter jurisdiction over the same because
                                                      15
                                                           the Court had subject matter jurisdiction at the time the Adversary Complaint was filed. Moreover,
                                                      16
                                                           Tecumseh’s reliance on the Abandonment Order and Stay Relief Order in arguing that these orders
                                                      17
                                                           removed the disputed receivables from this Court’s jurisdiction is entirely misplaced as both orders
                                                      18
                                                           expressly excluded and carved out the disputed accounts. It is these disputed accounts that are at
                                                      19
                                                           issue in the Adversary Proceeding, and this Court has “related to” jurisdiction over the same.
                                                      20
                                                                      “Related to” jurisdiction is extremely broad.     Under Ninth Circuit law, “related to”
                                                      21
                                                           jurisdiction exists if “the outcome of the proceeding could conceivably have any effect on the estate
                                                      22
                                                           being administered in bankruptcy.” Fietz, 852 F.2d at 457 (emphasis supplied) (citing to Pacor, Inc.
                                                      23
                                                           v. Higgins, 743 F.2d 984 (3d Cir. 1984) (reversed on other grounds)). The action “need not
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                                                           necessarily be against the debtor or the debtor’s property,” instead, it is “related to” the bankruptcy
                                                      25
                                                           if its outcome could impact the administration of the bankrupt estate by affecting “the debtor’s rights,
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                                                           29
                                                                See Motion, 9:4-7.
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                                                       1   liabilities, options, or freedoms of action.” Id. This is quite broad and is intended to allow

                                                       2   bankruptcy courts to deal with all matters connected to the bankruptcy estate “efficiently and

                                                       3   expeditiously.” Celotex Corp. v. Edwards, 514 U.S. 300, 307-08 (1995) (approving the Pacor test).

                                                       4              Courts have routinely found that ownership disputes and collection efforts relating to

                                                       5   accounts receivable of a debtor fall under “related to” jurisdiction. See, e.g., Maislin Industries,

                                                       6   U.S., Inc. v. A.J. Hollander Co., 69 B.R. 771 (E.D. Mich. Bankr. 1986) (finding related to jurisdiction

                                                       7   to exist when there were issues regarding a security interest and ownership claims to accounts

                                                       8   receivable); In re Pennysaver USA Publ’g, LLC, 587 B.R. 43 (Del. Bankr. 2018) (citing to Pacor

                                                       9   and finding that a dispute over accounts receivable satisfied “related to” jurisdiction); Wood v.

                                                      10   Ghuste (In re Wood), 216 B.R. 1010 (M.D. Fla. 1998) (“[N]umerous courts have specifically held

                                                      11   that proceedings to collect accounts receivable in which the underlying transaction occurred
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                                                      12   prepetition are within only the court’s ‘related to’ jurisdiction….”); In re F&L Plumbing & Heating
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                                                      13   Co., 114 B.R. 370 (E.D.N.Y. 1989) (collecting cases concluding that actions to collect on accounts

                                                      14   receivable are core proceedings and “related to a case under title 11”).

                                                      15              Here, the accounts receivable at issue and in dispute between HASelect and Tecumseh

                                                      16   undoubtedly affect Debtor’s rights or liabilities. Determining who has priority and the senior interest

                                                      17   over the accounts receivable will determine who can take over the disputed accounts, and collect on

                                                      18   the same, thereby affecting the claims and amounts thereof asserted against the Debtor. Put

                                                      19   differently, if the disputed accounts are found to belong to HASelect as Collateral, then Tecumseh

                                                      20   will likely assert further claims or increase the amount of its claim against Debtor, which is the basis

                                                      21   of Tecumseh’s proof of claim. The adversary proceeding will also determine the extent to which

                                                      22   Debtor held ownership over the disputed accounts, which the Trustee has already claimed are

                                                      23   property of the bankruptcy estate.30 All of the foregoing shows that the broad reach of “related to”

                                                      24   jurisdiction is satisfied by the claims at issue in the Adversary Proceeding against Tecumseh. See,

                                                      25   e.g., In re Titan Energy, Inc., 837 F.2d 325, 330 (8th Cir. 1988) (“[E]ven a proceeding which

                                                      26   portends a mere contingent or tangential effect on a debtor’s estate meets the broad jurisdiction test

                                                      27
                                                           30
                                                                See Trustee’s Supplement to Motion to Approve Abandonment of Collateral [ECF No. 64].
                                                      28

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                                                       1   articulated in Pacor” and finding “related to” jurisdiction to exist over declaratory and injunctive

                                                       2   relief claims because these claims could “conceivably have an impact on [debtor’s] estate.”). As the

                                                       3   Court previously held in granting the Trustee’s Motion to Substitute, subject matter jurisdiction

                                                       4   clearly exists over the claims pending between HASelect and Tecumseh in this adversary

                                                       5   proceeding. As such, Tecumseh’s Motion must be denied.

                                                       6                  4.      The Court Has Supplemental Jurisdiction over HASelect’s Claims.

                                                       7          The Court can also exercise supplemental jurisdiction over HASelect’s declaratory relief,
                                                       8   injunctive relief, conversion, and unjust enrichment claims. “Pursuant to 28 U.S.C. § 1367, district
                                                       9   courts have supplemental jurisdiction over all other claims that are so related to the claims in the
                                                      10   action within [the court’s] original jurisdiction that they form part of the same case or controversy
                                                      11   under Article III of the United States Constitution.” Montana v. Goldin (In re Pegasus Gold Corp.),
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                                                      12   394 F.3d 1189, 1195 (9th Cir. 2005). Supplemental jurisdiction under Section 1367 has been applied
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                                                      13   to bankruptcy claims, “even when the subject matter jurisdiction is based on ‘related to’ bankruptcy
                                                      14   jurisdiction.” Id. (citing Sec. Farms v. Int’l Bhd. Of Teamsters, 124 F.3d 999 (9th Cir. 1997)). For
                                                      15   supplemental jurisdiction to exist, all the Court must find is that remaining claims involve a common
                                                      16   nucleus of operative facts and could be resolved within one judicial proceeding. Id.; see also Ward
                                                      17   v. White River Contr., LLC (In re White River Contr., LLC), No. 20-90251, 2021 Bankr. LEXIS
                                                      18   2507, *11-13 (Mont. Bankr. Sept. 10, 2021) (citing to Pegasus Gold with approval and finding
                                                      19   supplemental subject matter jurisdiction to exist).
                                                      20          Here, because HASelect has been substituted into the Trustee’s stead for the Section 544
                                                      21   claim, this Court can exercise supplemental jurisdiction over the remaining claims in addition to its
                                                      22   “related to” jurisdiction. Indeed, the Section 544 claim seeks to determine the priority of Tecumseh’s
                                                      23   interest, if any, in the same disputed accounts that are at issue in connection with HASelect’s
                                                      24   declaratory relief, unjust enrichment, and conversion claims. These claims arise out of the same
                                                      25   common nucleus of operative facts as HASelect’s remaining claims, as well as Tecumseh’s
                                                      26   counterclaims, and will undoubtedly involve analysis relating to the Sub-Advisory Agreement
                                                      27   entered into between Tecumseh and Debtor and HASelect’s perfected security interest as it relates
                                                      28

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                                                       1   to Tecumseh’s claim to ownership of the disputed accounts. Such circumstances constitute a

                                                       2   “common nucleus of operative facts” sufficient for the Court to exercise its supplemental

                                                       3   jurisdiction. See, e.g., Chubb v. LG Warranty Co., LLC (In re Access Ins. Servs.), No. 3:13-cv-

                                                       4   00699, 2014 U.S. Dist. LEXIS 160527, *7-9 (D. Nev. Nov. 12, 2014) (finding that the factual

                                                       5   overlap between common law claims and original jurisdiction claims was sufficient for supplemental

                                                       6   jurisdiction).

                                                       7           E.       Based on the Frivolous Nature of its Motion, Tecumseh’s Conduct in Pursuing
                                                                            the Motion Is Sanctionable.
                                                       8
                                                                   In light of recent Ninth Circuit cases expressly rejecting the arguments on which Tecumseh’s
                                                       9
                                                           Motion is based and this Court’s own rejection of those arguments in granting the Trustee’s Motion
                                                      10
                                                           to Substitute, Tecumseh’s Motion is not based on any reasonable or valid legal theory. As such, the
                                                      11
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                                                           Motion is frivolous, and Tecumseh’s continued pursuit of the Motion is sanctionable. While
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                                                           HASelect has not filed any motion seeking sanctions or to recover attorney fees incurred in opposing
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                                                      13
                                                           the Motion, it reserves the right to do so.
                                                      14
                                                           IV.     CONCLUSION
                                                      15
                                                                   For the foregoing reasons, and as this Court has already determined in ruling on the Trustee’s
                                                      16
                                                           Motion to Substitute, this Court has subject matter jurisdiction over the claims at issue in this
                                                      17
                                                           adversary proceeding, and HASelect enjoys standing to prosecute the avoidance claims it purchased
                                                      18
                                                           from the bankruptcy estate. Accordingly, HASelect respectfully requests that the Court enter an
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                                                           order denying Tecumseh’s Motion in its entirety.
                                                      20
                                                                   DATED this 12th day of May 2022.
                                                      21
                                                                                                                   SHEA LARSEN
                                                      22
                                                                                                                   /s/ Bart K. Larsen, Esq.
                                                      23                                                           Bart K. Larsen, Esq.
                                                                                                                   Nevada Bar No. 8538
                                                      24                                                           Kyle M. Wyant, Esq.
                                                                                                                   Nevada Bar No. 14652
                                                      25                                                           1731 Village Center Circle, Suite 150
                                                                                                                   Las Vegas, Nevada 89134
                                                      26
                                                                                                                   Attorneys for HASelect-Medical Receivables
                                                      27                                                           Litigation Finance Fund International SP
                                                      28

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                                                                                           CERTIFICATE OF SERVICE
                                                       1
                                                              1. On May 12, 2022, I served the following document(s): HASELECT-MEDICAL
                                                       2         RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP’S
                                                                 OPPOSITION TO TECUMSEH-INFINITY MEDICAL RECEIVABLE FUND, LP’S
                                                       3         MOTION TO DISMISS ALL CLAIMS FOR LACK OF SUBJECT MATTER
                                                                 JURISDICTION
                                                       4
                                                              2. I served the above document(s) by the following means to the persons as listed below:
                                                       5
                                                                 ☒       a.     ECF System:
                                                       6
                                                                 CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                       7         clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       8         GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP
                                                       9         ggordon@gtg.legal, bknotices@gtg.legal
                                                      10         GABRIELLE A. HAMM on behalf of TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP
                                                      11         ghamm@Gtg.legal, bknotices@gtg.legal
              1731 Village Center Circle, Suite 150




                                                      12         MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                   Las Vegas, Nevada 89134
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                                                                 RECEIVABLES FUND, LP
                        (702) 471-7432




                                                      13         michael.napoli@akerman.com,
                                                                 cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras@akerm
                                                      14         an.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
                                                      15         ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL RECEIVABLES
                                                                 FUND, LP
                                                      16         ariel.stern@akerman.com, akermanlas@akerman.com
                                                      17         ☐       b.     United States mail, postage fully prepaid:
                                                      18         ☐       c.     Personal Service:
                                                      19         I personally delivered the document(s) to the persons at these addresses:
                                                      20                ☐       For a party represented by an attorney, delivery was made by handing the
                                                                 document(s) at the attorney’s office with a clerk or other person in charge, or if no one is in
                                                      21         charge by leaving the document(s) in a conspicuous place in the office.
                                                      22                ☐       For a party, delivery was made by handling the document(s) to the party or
                                                                 by leaving the document(s) at the person’s dwelling house or usual place of abode with
                                                      23         someone of suitable age and discretion residing there.
                                                      24         ☐       d.      By direct email (as opposed to through the ECF System):
                                                                 Based upon the written agreement of the parties to accept service by email or a court order,
                                                      25         I caused the document(s) to be sent to the persons at the email addresses listed below. I did
                                                                 not receive, within a reasonable time after the transmission, any electronic message or other
                                                      26         indication that the transmission was unsuccessful.
                                                      27         ☐       e.     By fax transmission:
                                                      28

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                                                                 Based upon the written agreement of the parties to accept service by fax transmission or a
                                                       1         court order, I faxed the document(s) to the persons at the fax numbers listed below. No
                                                                 error was reported by the fax machine that I used. A copy of the record of the fax
                                                       2         transmission is attached.
                                                       3         ☐      f.      By messenger:
                                                       4         I served the document(s) by placing them in an envelope or package addressed to the
                                                                 persons at the addresses listed below and providing them to a messenger for service.
                                                       5
                                                                 I declare under penalty of perjury that the foregoing is true and correct.
                                                       6
                                                                 Dated: May 12, 2022.
                                                       7
                                                                                                       By: /s/ Bart K. Larsen, Esq,
                                                       8

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